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                           UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA


    JEANNE VOLTZ-LOOMIS; GARY                               Case No. 5:20-CV-01533-DCC-KDW
    ZACHARIAH THOMAS; DENISE EDGAR;
    BRANDON MOORE; ALLEN                                    Petitioners’ Motion to Expedite and
    SLAUGHTER; GAY OPEL STANLEY;                            Memorandum in Support
    BRISON AKEEM ALLISON;
    PROTECTION & ADVOCACY FOR                               Class Action
    PEOPLE WITH DISABILITIES, INC.;
    JOHN DOES 1 through 10; JANE ROES 1
    through 10; on their own and on behalf of a
    class of similarly situated persons,


                            Petitioners,
           v.

    HENRY McMASTER, in his official capacity
    as Governor of the State of South Carolina,
    BRYAN STIRLING, in his official capacity
    as Director of the South Carolina Department
    of Corrections; the SOUTH CAROLINA
    BOARD OF PARDONS AND PAROLES;
    and CHRISTOPHER F. GIBBS, MOLLIE
    DUPRIEST TAYLOR, DAN BATSON,
    HENRY S. ELDRIDGE, LONNIE
    RANDOLPH and KIM FREDERICK, in their
    official capacities as members of the South
    Carolina Board of Pardons and Paroles.

                              Respondents


      PETITIONERS’ MOTION TO EXPEDITE AND MEMORANDUM IN SUPPORT

          Petitioners seek expedited consideration of their Emergency Petition for Writs of Habeas

Corpus (Doc. 1) (“Petition”).1 As set forth more particularly in the Petition, Petitioners seek

emergency relief to address Respondents’ refusal in violation of Petitioner’s constitutional rights


1
 Petitioners have provided all of the Respondents with courtesy copies of the Petition and its exhibits while formal
service is in process.


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to take the steps necessary to mitigate the imminent deadly threat posed by the COVID-19

pandemic now introduced into South Carolina’s state prisons.

         While Governor McMaster declared a state of emergency on March 13, 2020, recognizing

the dangerous spread of the COVID-19 virus, persons incarcerated in state prisons have not been

afforded the protections that Order was intended to provide. Respondents have failed and refused

to take effective action to reduce the prison population, allow for any meaningful social distance,

implement a rational testing protocol, isolate and provide appropriate care for those who may

already be ill, or continue necessary treatment for those with other serious medical issues. Faced

with similar issues, and as discussed below, other courts have acted expeditiously to protect the

rights of this vulnerable population.2 It is true that some prisons in other states have been hit harder

than in South Carolina. But that is itself a compelling reason for urgent action now. Where

outbreaks have hit other prisons, positive infection rates have been found in as much as 80% of

the population likely leading to staggering death counts. In South Carolina, there may be time to

avoid that. But there is no time to spare.

         As described in the Petition and the Declarations of Dr. Jonathan Golob (Doc. 1-1), Dr.

Jamie Meyer (Doc. 1-3), and Dr. Marc Stern (Doc. 1-14), correctional facilities, such as those

under the supervision of the SCDC, are particularly vulnerable to the rapid spread of the COVID-

19 virus.     COVID-19 is transmitted from person-to-person often by people when they are



2
  See, e.g., Order, Wilson v. Williams, No. 4:20-cv-00794 (N.D. Ohio Apr. 14, 2020) (copy attached as Exhibit 2);
Order, United States v. Zukerman, No. 16-CR-194 (AT) (S.D.N.Y. Apr. 3, 2020) (releasing medically vulnerable
prisoner to home confinement despite “seriousness and duration of his criminal conduct” because “the Court did not
intend for his sentence to include incurring a great and unforeseen risk of severe illness or death brought on by a
global pandemic”) (internal quotations omitted); Memorandum and Order, Thakker v. Doll, No. 1:20-CV-0480
(M.D. Pa. Mar. 31, 2020) (categorically releasing petitioners suffering from chronic medical conditions given their
inability to practice social distancing in detention facilities and the resulting “grave consequences” they could face
from a COVID-19 outbreak); see also Prison Policy Initiative, Responses to the COVID-19 Pandemic,
https://www.prisonpolicy.org/virus/virusresponse.html#releases (last updated Apr. 23, 2020).


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asymptomatic. Physical distancing, which is required to slow the spread of the virus according to

the Centers for Disease Control and Prevention (“CDC”) and other public health experts, is

difficult, if not impossible, in correctional facilities where inmates share living spaces, dining

areas, bathrooms, showers, and other common areas. In addition, incarcerated inmates generally

have a higher incidence of underlying medical conditions that put them at particularly high risk

from COVID-19, and correctional facilities are characterized by less hygienic conditions and fewer

opportunities to practice good hygiene, including frequent hand washing and access to hand

sanitizer and masks, than exist outside such facilities.

           South Carolina Department of Corrections (“SCDC”) facilities also suffer from severe

understaffing, which has been widely documented over many years and gives rise to unique risks

in the South Carolina prisons during this pandemic. As Dr. Meyer explains, the understaffing

within the SCDC will be exacerbated by the pandemic due to staff illnesses and absences as well

as the increased workload demands due to the coronavirus. The SCDC itself admits it is 900

officers short, which Dr. Meyer concludes is a strong signal that the SCDC is ill-prepared to handle

this public health crisis and will result in serious threats to the safety, security, and health of all

individuals that reside and work at SCDC facilities. Meyer Dec. at ¶¶ 30–34.

           The day before this Petition was filed on April 21, 2020, the SCDC reported its first

confirmed case of COVID-19 in an inmate. Another was announced the day after the Petition

was filed.3 It is inevitable that more will be announced in the coming days. Right now, there are

40 SCDC staff reported positive and that number has and likely will increase steadily. The positive

reports are just the “tip of the iceberg.” Meyer Dec. at ¶ 28. There is little question that the number

of confirmed COVID-19 infections among staff and inmates will continue to rise in the coming



3
    See http://www.doc.sc.gov/covid.html.

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weeks just as it has in other prisons across America. And, as more staff and other visitors to SCDC

correctional facilities become infected, they will inevitably spread the virus to others in the

surrounding communities.

          A recently published epidemiological study reports that models projecting country-wide

fatalities are underestimating them by as many as 100,000 because they are not accounting for jails

and prisons, which “will become veritable volcanoes for the spread of the virus.”4 Indeed, a state

prison in Ohio has become “[t][he largest-known coronavirus hotspot in the country.”5 There are

2,011 inmates in that Ohio prison comprising more than 80 percent of the population who had

tested positive for COVID-19. See id. Notably, “[m]any of those who tested positive showed no

symptoms.” Id. The only reason that authorities discovered the extent of infection in the prison

is that the Ohio Governor ordered that all inmates be tested. See id.

          The most effective way to prevent a similar public health crisis from developing in SCDC

correctional facilities (if it has not developed already) is to thin the inmate population consistent

with public safety. Meyer Dec. at ¶ 38 (“Reducing the size of the population in jails and prisons

is crucial to reducing the level of risk for those within those facilities and for the community at

large.”). This court should stem the tide of COVID-19 cases in the SCDC by taking immediate

action.

          Faced with similar habeas claims brought on April 13, 2020 by inmates in a federal prison

in Ohio, the district court granted petitioners’ motion to expedite and ordered responsive briefing

by April 17, 2020. See Wilson v. Williams, No. 4:20-cv-00794, Order (Doc. 7) (N.D. Ohio Apr.


4
  COVID-19 Model Finds Nearly 100,000 More Deaths Than Current Estimates, Due to Failures to Reduce Jails at 2
(copy attached as Exhibit 1).
5
  See https://www.cleveland.com/coronavirus/2020/04/why-has-ohios-marion-prison-become- the-number-one-
coronavirus-hotspot-in-the-united-
tates.html?utm_source=The+Marshall+Project+Newsletter&utm_campaign=8d638060bd-
EMAIL_CAMPAIGN_2020_04_23_11_44&utm_medium=email&utm_term=0_5e02cdad9d-8d638060bd-
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14, 2020) (copy attached as Exhibit 2). The Court also scheduled a hearing for April 17, 2020,

and ordered the respondents, before the hearing, “to identify all inmates who meet the following

conditions: inmates suffering from documented and pre-existing: heart, pulmonary, kidney or liver

conditions, diabetes, or conditions that cause a person to be immunocompromised, including but

not limited to cancer, transplants, and HIV or AIDS, but excluding smoking and obesity.” See id.

Minute Entry (N.D. Ohio Apr. 17, 2022). By order dated April 22, 2020, the court certified a class

under Federal Rule of Civil Procedure 23(b)(2) and ordered respondents to identify members of

the class and evaluate them for compassionate release, parole or community supervision, furlough

or transfer to a facility capable of taking appropriate measures to reduce the risk of COVID-19

transmission. See Wilson v. Williams, No. 4:20-cv-00794, 2020 WL 1940882 (N.D. Ohio Apr. 22,

2020).

         Accordingly, to avoid a looming public health crisis in SCDC correctional facilities, this

Court should grant Petitioner’s motion for expedited consideration of the Petition, order

Respondents to answer the Petition on an expedited basis as soon as the Court deems appropriate,

and, if necessary, schedule a hearing immediately thereafter.

Dated: April 24, 2020

                                             Respectfully submitted,


                                              s/ Susan K. Dunn_________________
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